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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 9:20-cv-81357-Matthewman


 AMERICAN BUILDERS
 INSURANCE COMPANY,

                        Plaintiff
        V.


 SOUTHERN-OWNERS                                                          AUGO4 2021
 INSURANCE COMPANY,
                                                                          ANGELA E. NOBLE
                                                                      CLERK U.S. DIST. CT.
                                                                      S.D. OF FLA. - W.P.B.
                        Defendant.
 - - - - - - - - - - - - - - - - - - -I


                                            VERDICT FORM


        We, the Jury return the following Verdict:

 1.       Has Plaintiff, AMERICAN BUILDERS INSURANCE COMPANY, proven by a
 preponderance of the evidence that Defendant, SOUTHERN-OWNERS INSURANCE COMPANY,
 acted in bad faith by not settling Ernest Guthrie' s claim against Beck Construction?

                         ~
                Yes - - - -                           No- - - -




 Please date and sign this verdict form and return it to the courtroom.


        SO SAY WE ALL this 11:Jday of August, 2021.




                                                Foreperson -   L,
